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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    GILBERTO MALDONADO,               )       No. CV-F-07-1536 OWW
                                       )       (No. CR-F-02-5408 OWW)
10                                     )
                                       )       MEMORANDUM DECISION AND
11                    Petitioner,      )       ORDER DENYING PETITIONER
                                       )       GILBERTO MALDONADO'S MOTION
12             vs.                     )       TO VACATE, SET ASIDE OR
                                       )       CORRECT SENTENCE PURSUANT TO
13                                     )       28 U.S.C. § 2255 AND
     UNITED STATES OF AMERICA,         )       DIRECTING CLERK OF COURT TO
14                                     )       ENTER JUDGMENT FOR
                                       )       RESPONDENT
15                    Respondent.      )
                                       )
16                                     )

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          On October 22, 2007, Petitioner Gilberto Maldonado filed a
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     motion to vacate, set aside or correct sentence pursuant to 28
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     U.S.C. § 2255.
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          Petitioner was found guilty following jury trial of
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     conspiracy to aid and abet the manufacture of methamphetamine and
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     to possess pseudoephedrine knowing or having reasonable cause to
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     believe it would be used to manufacture methamphetamine;
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     attempted possession of pseudoephedrine with the intent to
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1    manufacture methamphetamine and aiding and abetting; use of a

2    communications facility to facilitate a drug trafficking crime,

3    and criminal forfeiture.     Petitioner was sentenced on June 15,

4    2005 to a total term of 210 months.       Petitioner appealed to the

5    Ninth Circuit.    On July 15, 2005, a Recommendation for Drug

6    Program was filed, at the request of Maldonado’s counsel, wherein

7    it was recommended that Maldonado “participate in the Bureau of

8    Prisons 500-Hour Drug Abuse Program, if it is deemed he is a

9    proper candidate within the Bureau of Prisons Guidelines.”          On

10   August 18, 2006, Petitioner’s conviction was affirmed by the

11   Ninth Circuit.    Petitioner did not challenge his sentence on any

12   ground on appeal.    See United States v. Sepulveda, 2006 WL

13   2085392 (9th Cir.2006).

14        A.    Ineffective Assistance of Counsel.

15        Petitioner asserts that he was denied the effective

16   assistance of counsel at sentencing because his counsel failed to

17   argue that Petitioner qualified for a downward departure based on

18   the more onerous conditions imposed on aliens in federal prison

19   and failed to “properly argue” that Petitioner was entitled to a

20   mitigating role adjustment pursuant to USSG § 3B1.2 “as either:

21   1) a Minimal Participant for a 4 level departure; 2) a Minor

22   Participant for a 2 level departure; or 3) where on the facts

23   submitted, cases falling in between are to be decreased by 3

24   Levels.”

25        A petitioner who fails to raise non-constitutional

26   sentencing errors on appeal waives his right to challenge the

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1    errors in a Section 2255 motion.        United States v. Schlesinger,

2    49 F.3d 483 (9th Cir.1994).    A petitioner may raise such alleged

3    sentencing errors in a Section 2255 motion if he can show both

4    cause for their failure to make the objection earlier and

5    prejudice from that failure.      United States v. McMullen, 98 F.3d

6    1155, 1157 (9th Cir.1996), cert. denied, 520 U.S. 1269 (1997).

7    Establishing the elements of an ineffective assistance of counsel

8    claim normally will meet this cause and prejudice test.             Id.   The

9    elements established by the Supreme Court for prevailing on an

10   ineffective assistance of counsel claim are: (1) the petitioner

11   “must show that counsel’s representation fell below an objective

12   standard of reasonableness”; and (2) the petitioner “must show

13   that there is a reasonable probability that, but for counsel’s

14   unprofessional errors, the result of the proceeding would have

15   been different.”   Strickland v. Washington, 466 U.S. 668, 688

16   (1984).

17        Petitioner’s contention that he was denied the effective

18   assistance of counsel because of counsel’s failure to argue that

19   Petitioner’s role in the offense was minor is without merit.

20   Counsel specifically argued at sentencing that Petitioner’s role

21   in the offense was minor and that he was entitled to a two-level

22   reduction in the offense level for his role.        (CT, June 13, 2005

23   pp.5-6, 8).   Counsel’s request for a downward departure based on

24   his minor role in the offense was rejected by the Court.            The

25   facts proved at trial showed that Petitioner was an active

26   participant in the conspiracy to purchase pseudoephedrine to

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1    manufacture methamphetamine and that Petitioner provided money to

2    facilitate the purchase of pseudoephedrine.        Petitioner presents

3    nothing to support his contention that a “proper” argument by

4    counsel would have resulted in the Court reducing Petitioner’s

5    sentence based on his role in the offense.        Counsel’s argument

6    cannot overcome the evidence.

7         Petitioner argues that counsel was ineffective because he

8    failed to argue for a downward departure based on Petitioner’s

9    status as a deportable alien.      Petitioner has not demonstrated

10   ineffective assistance of counsel because Petitioner cannot

11   demonstrate a reasonable probability that the result would have

12   been different if counsel had so argued, i.e., that the Court

13   would have reduced Petitioner’s sentence because his status as an

14   alien made him ineligible for certain BOP programs.

15        A District Court had discretion to depart downward due to

16   deportable alien status only after determining that this factor

17   “takes the case outside of the ‘heartland.’” United States v.

18   Charry Cubillos, 91 F.3d 1342, 1344 (9th Cir.1996), quoting Koon

19   v. United States, 518 U.S. 81 (1996).1       Nothing in the record of

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           In United States v. Mohamed, 459 U.S. 979, 987 (9th Cir.2006),
21   the Ninth Circuit explained:
22             ... [W]e elect to review a district court’s
               application   of   the   advisory   sentencing
23             guidelines only insofar as they do not involve
               departures.   To the extent that a district
24             court has framed its analysis in terms of a
               downward or upward departure, we will treat
25             such so-called departures as an exercise of
               post-Booker discretion to sentence a defendant
26             outside of the applicable guideline range. In

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1    this action compels a conclusion that the fact of Petitioner’s

2    alien status takes the case outside of the heartland of typical

3    cases involving the sentencing of convicted drug offenders and

4    the Court would not have granted a request for a downward

5    departure on this basis.     Defendant was a knowing participant in

6    a conspiracy to manufacture methamphetamine and to possess

7    pseudoephedrine knowing it would be used to manufacture

8    methamphetamine.   Although Petitioner’s criminal history did not

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               order words, any post-Booker decision to
10             sentence outside of the applicable guidelines
               range is subject to a unitary review for
11             reasonableness, no matter how the district
               court styles its sentencing decision.
12
               We do not mean to suggest, however, that the
13             pre-Booker system of departures should be
               ignored. That system reflects the Sentencing
14             Commission’s judgment about what types of
               considerations should or should not take a
15             case out of the ‘heartland of typical cases’
               such that an extra-guideline sentence would be
16             justified.   Koon v. United States, 518 U.S.
               81, 94 ... (1996).     If a district court’s
17             reasons   for   exercising   its   post-Booker
               discretion coincide with the factors allowed
18             or encouraged under the pre-Booker system of
               departures, such overlap may suggest that the
19             sentencing decision was reasonable ... Our
               holding today does not preclude consultation
20             of the system of departures that existed under
               the mandatory regime, either by the district
21             court or by this court.     Rather, out of a
               recognition that the concept of formal
22             departures is anachronistic, we hold that any
               deviation   from   the   applicable   advisory
23             guideline range will be viewed as an exercise
               of the district court’s post-Booker discretion
24             and reviewed only for reasonableness.
25   Mohamed thus underscores that the holding in Charry Cubillos
     remains good authority following Booker.
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1    involve prior drug offenses, his criminal history category was II

2    and Petitioner had three prior drug-related arrests.

3    Consequently, counsel’s failure to request a downward departure

4    in the calculation of Petitioner’s sentence because of his status

5    as an alien was not ineffective assistance of counsel.

6           B.    VIOLATION OF RIGHT TO SPEEDY TRIAL.

7           Petitioner asserts that his constitutional right to a speedy

8    trial was violated.       Petitioner asserts that he was arraigned on

9    December 20, 2002, but his trial did not start until June 2,

10   2004.       Petitioner contends:

11                  To the best of my knowledge and belief;
                    during this 18 month time frame, the District
12                  Court failed to make the proper findings
                    regarding the ends of justice requirement for
13                  the delay pursuant to Title 18 U.S.C. Section
                    3161(h)(8).
14
            Petitioner cites Zedner v. United States, 547 U.S. 489
15
     (2006).      In Zedner, the Supreme Court ruled that a defendant may
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     not    prospectively waive the Speedy Trial Act “for all time”
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     without compliance by the District Court with requirements of
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     Section 3161(h)(8).
19
            Petitioner’s motion is without merit.         Zedner does not apply
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     because there was no blanket waiver by Petitioner of the Speedy
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     Trial Act.      There was no request for and exclusion of time under
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     the Speedy Trial Act pursuant to Section 3161(h)(8).             Rather, the
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     docket establishes that specific exclusions of time under the
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     Speedy Trial Act were made by Judge Coyle on lawful grounds for
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     excluding time throughout the pretrial proceedings prior to the
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1    transfer of the action to Judge Wanger for jury trial.

2    Petitioner makes no contention or showing that any of the

3    exclusions of time made by Judge Coyle were improperly made under

4    the Speedy Trial Act or that the Speedy Trial Act was otherwise

5    violated.      To the contrary Petitioner makes no reference to the

6    record, rather he only makes a conclusory assertion on

7    information and belief.

8          C.     INEFFECTIVE ASSISTANCE OF APPELLATE COUNSEL.

9          Petitioner contends that he was denied the effective

10   assistance of appellate counsel because of appellate counsel’s

11   failure to assert on appeal that Petitioner’s sentence should

12   have been reduced because of his minor role in the offense and

13   his status as an alien, and that the Speedy Trial Act was

14   violated because of the failure to comply with the requirements

15   of Section 3161(h)(8).      Because Petitioner has not demonstrated

16   that he is entitled to relief on any of these grounds, his claim

17   of ineffective assistance of appellate counsel fails.

18         For the reasons stated:

19         1.     Petitioner’s motion to vacate, set aside or correct

20   sentence pursuant to 28 U.S.C. § 2255 is DENIED;

21         2.     The Clerk of the Court is directed to enter Judgment for

22   Respondent.

23         IT IS SO ORDERED.

24   Dated:     May 21, 2008                /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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